Caseé

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

2:19-cv-09241-CBM-JDE Document 14 Filed 10/16/20 Page lof2 Page ID #:45
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
UNIVERSAL DYEING & PRINTING, Case No.: 2:19-cv-09241-CBM-JDE
INC., Hon. Consuelo B Marshall Presiding
Plaintiff,
ORDER ON STIPULATION
V. TO DISMISS ACTION

WITH PREJUDICE [JS-6]
CURE APPAREL, LLC, et al.,

 

Defendants.

 

1

 

 

 

ORDER ON STIPULATION TO DISMISS ACTION

 
Caseé

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

2:19-cv-09241-CBM-JDE Document 14 Filed 10/16/20 Page 2of2 Page ID #:46

ORDER:
FOR GOOD CAUSE APPEARING, THE FOLLOWING IS HEREBY

ORDERED:

1. The action is dismissed with prejudice; and
2. The parties will each bear their respective costs and attorneys’ fees as

incurred against one another in connection with this action.

SO ORDERED.

tt 62 =e

. OCTOBER 16

Dated , 2020 By:

 

HON. CONSUELO B MARSHALL
UNITED STATES DISTRICT JUDGE

2

 

 

 

ORDER ON STIPULATION TO DISMISS ACTION

 
